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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TRUE HEALTH CHIROPRACTIC, INC.,                   )
an Ohio corporation, individually and as the      )
representative of a class of similarly-situated   )
persons,                                          )
                                                  )    Civil Action No.: 2:13-cv-03541-EL
                               Plaintiff,         )
                                                  )    CLASS ACTION
               v.                                 )
                                                  )
PHILADELPHIA CONSOLIDATED                         )
HOLDING CORP., PHILADELPHIA                       )
INSURANCE COMPANIES and JOHN                      )
DOES 1-10,                                        )
           Defendants.                            )

                            JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiff, TRUE HEALTH,

CHIROPARCTIC, INC., and Defendants, PHILADELPHIA CONSOLIDATED HOLDING

CORP. and PHILADELPHIA INSURANCE COMPANIES, through their undersigned

attorneys, hereby stipulate to the dismissal of this action with prejudice, class allegations without

prejudice, each side to bear its own costs.

                                                      Respectfully submitted,

TRUE HEALTH CHIROPRACTIC, INC.                        PHILADELPHIA CONSOLIDATED
                                                      HOLDING CORP. and PHILADELPHIA
By: s/Ryan M. Kelly                                   INSURANCE COMPANIES
Brian J. Wanca
Ryan M. Kelly                                         By: s/Patrick Casteneda
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                                                 Attorneys for Defendants




                              CERTIFICATE OF SERVICE

        I hereby certify that on October 5, 2017, I electronically filed the foregoing Joint
Stipulation of Dismissal with the Clerk of the Court using the CM/ECF system which will send
notification of such filings to all counsel of record.



                                                   /s/Ryan M. Kelly




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